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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 16-CR-20893-FAM(s)


  UNITED STATES OF AMERICA,

  vs.

  MONTY RAY GROW,

              Defendant.
  _______________________________/

             DEFENDANT’S MOTION TO EXCLUDE TESTIMONY OF DAVID
              KAZARIAN, DR. ARTHUR SIMONE AND DAN WUNDERLIN

         Defendant Monty Ray Grow, through undersigned counsel, respectfully moves this Court

  to exclude from trial the testimony of three witnesses whom the government has noticed as experts

  because the government’s expert disclosures were untimely and because the testimony consists of

  legal conclusions that will not aid the trier of fact and is otherwise irrelevant.

                                            BACKGROUND

         On November 29, 2016, the Grand Jury returned a 52-Count Indictment charging Mr. Grow

  with various health-care violations related to the sale of compound pharmaceuticals. [DE 3]. This

  Court set the case for trial on February 6, 2017. [DE 17]. At the time of Mr. Grow’s arraignment

  on December 28, 2016, Magistrate Judge Otazo-Reyes entered a paperless Standing Discovery

  Order directing the parties to comply with S.D. Fla. Local Rule 88.10. [DE 16].

         The government filed its Response to the Standing Discovery Order on January 10, 2017.

  In it, the government voluntarily disclosed that “it may call one or more witnesses from Tricare

  and/or Express Scripts” to testify about the rules “related to the claims and/or reimbursement

  process.” [DE 20 ¶N]. The government acknowledged that such testimony by a Tricare or Express
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  Scripts representative might not “even qualify as expert opinion within the rules.” Id. If it did,

  however, the government agreed to “timely disclose a written summary of testimony the

  government reasonably expects to offer at trial as required under Rules 702, 703, or 705 of the

  Federal Rules of Evidence.” Id. In return, the government demanded that the defense turn over a

  written summary of any experts we reasonably expect to offer at trial, if any, along with a written

  summary “describing the witnesses’ opinions, the bases and the reasons for those opinions, and

  the witnesses’ qualifications.” Id.

         On January 26, 2017, Mr. Grow filed an Unopposed Motion to Continue Trial, which this

  Court granted, continuing trial to October 16, 2017. [DE 24, 26]. Over the next eight months, the

  government produced over one million pages of discovery. Not a single expert disclosure was

  among them. Weeks before trial was slated to begin, the government filed a Superseding

  Indictment, after which this Court granted Mr. Grow a second trial continuance until December

  11, 2017. [DE 37, 51]. Subsequently, the Court sua sponte continued trial further to January 22,

  2018. [DE 54].

         As directed by the Court, the government filed its exhibit list with the Court on January 4,

  2018. [DE 56, 63]. Among the 322 exhibits identified by the government were expert curricula

  vitae for three individuals tendered as experts who until that point had never been disclosed:

  Arthur Simone, David W. Kazarian and Marcus Ferrone. [DE 63, GX 25-27]. The next day,

  defense counsel sent an email to the government asking for the curricula vitae and summaries. The

  government responded that it “decided that these experts would be needed just this week in order

  to prove up the very narrow issues alleged . . . in paras 8-9 of the [S]uperseding [I]ndictment.”

  The government continued in part,

         FDA’s attorney is working on the expert disclosure for Arthur Simone (para 9) as
         we speak, and I am trying to nail down details on the which [sic] of the remaining

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         two experts (to prove para 8) we will use. Once we work out the contract details
         with fiscal I will know. I can send you CVs if that helps now.

         The government produced expert curricula vitae for Mr. Simone and Mr. Kazarian on

  January 5 and January 8, respectively. On January 9, the government filed a Notice of Intent to

  Rely on Expert Testimony. [DE 71]. The Notice made clear that instead of simply calling Dr.

  Simone and one other witness as the its January 5 email said, the government now plans to call

  three witnesses: Dr. Simone, Mr. Kazarian and a third, Don Wunderlin, whose existence defense

  counsel were unaware of until the Notice was filed. 1 According to the government:

         David Kazarian- Mr. Kazarian is a pharmacist licensed in Florida and will testify
         to the information contained in paragraph 8 of the Superseding Indictment.
         Specifically, Mr. Kazarian will testify that Florida law requires a valid practitioner-
         patient relationship to exist before any drug may be prescribed. Mr. Kazarian will
         describe the requirements under Florida law for the existence of a practitioner-
         patient relationship, including among other things, requirements of a documented
         patient evaluation that includes history and physical examination adequate to
         establish a diagnosis for which the drug was prescribed.

         Dr. Arthur Simone, M.D., Ph.D.- Dr. Simone is a Medical Doctor licensed in the
         states of New Jersey and Pennsylvania and a Senior Medical Advisor with the Food
         and Drug Administration’s (“FDA”) Office of Unapproved Drugs and Labeling
         Compliance, Center for Drug Evaluation and Research, FDA. Dr. Simone will
         testify in pertinent part to the information contained in paragraph 9 of the
         Superseding Indictment, specifically that Flurbiprofen and Loperamide were
         “drugs” within the meaning of Title 21, United States Code, Section 321(g)(1) and
         were “prescription drugs” as defined in Title 21, United States Code, Section
         353(b)(1).

         Don Wunderlin- Mr. Wunderlin is a health care fraud specialist with the Defense
         Health Agency, which oversees the implementation of the Tricare Program. Mr.
         Wunderlin will testify as to specific rules governing Tricare coverage, including
         the requirement of co-payments and the rules for waiving co-payments associated
         with the compound drugs involved in this case. In addition, Mr. Wunderlin will
         explain the Tricare rules governing the use of telemedicine services.




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    Again, the government’s exhibit list identified potential experts Simone, Kazarian and someone named
  Marcus Ferrone. The government did not provide defense counsel with Mr. Wunderlin’s curriculum vitae
  until January 10.

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  Id. After reviewing the Notice, defense counsel asked the government when we could expect to

  receive expert summaries contemplated by Rule 16. The government refused to make any further

  disclosures.

                                            DISCUSSION

     A. The Government’s Expert Disclosures Are Untimely and
        Fail to Meet the Requirements of Fed. R. Crim. P. 16.

         In January 2017, the government disclosed that it would present testimony from an Express

  Scripts and/or Tricare representative as to the rules governing their respective claims and/or

  reimbursement process. After that, the government made no further disclosures for one year, even

  though the government produced a massive amount of discovery during that period. With no

  forthcoming expert disclosures, defense counsel prepared for trial with the understanding that there

  would be no expert testimony, even as to the claims reimbursement subject identified by the

  government in January 2017.

         It was not until we received government’s exhibit list that we learned the government had

  three experts. And it was not until some six days after that when we learned that the proffered

  testimony far exceeded the scope the government initially proposed.           No longer was the

  government simply going to call a Tricare and/or Express Scripts representative to speak to the

  claims processes. Instead, the government planned to elicit testimony on three different, vastly

  expanded subjects that previously went undisclosed: Florida law on what it means to have a valid

  practitioner-patient relationship; federal law regarding whether certain medications required a

  prescription; and Tricare regulations regarding co-payments and the use of telemedicine for its

  insureds. Although we now know the subject of each witness’ testimony, we still do not know

  (because the government refuses to identify) precisely what the witnesses’s opinions are (save, in




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  part, for Dr. Simone) or the bases for those opinions, as Rule 16 requires. Fed. R. Crim. P.

  16(a)(1)(G).

          Rule 16(d)(2) grants this Court broad discretion to impose sanctions on a party that fails to

  provide discovery in a timely fashion. See, e.g., United States v. Sims, 776 F.3d 583, 584, 586 (8th

  Cir. 2015) (concluding that it was not an abuse of discretion for the trial court to exclude expert

  testimony where the disclosures were made one week before trial); United States v. Holmes, 670

  F.3d 586, 597-99 (4th Cir. 2012) (affirming ordering granting government’s motion to exclude

  expert testimony where the defense provided notice of its intent to rely on expert testimony the

  week before trial, and its notice failed to comply with the requirements of Rule 16); United States

  v. Red Elk, 185 F. App’x 716, 723, 725 (10th Cir. 2006) (affirming trial court’s exclusion of expert

  testimony disclosed weeks before trial); United States v. Robinson, 44 F. Supp. 2d 1345, 1346,

  1348 (N.D. Ga. 1997) (excluding expert testimony where the government failed to provide a

  curriculum vitae of its proposed expert until one month before trial, and failed to produce a

  summary of the expert’s opinion until the day before trial, with an amended report filed the first

  day of trial).

          The government has given no reason for the delay, other than that it suddenly realized less

  than 3 weeks before trial – and over thirteen months after the government presented the original

  Indictment to the Grand Jury – that it needs experts to prove up certain allegations in the

  Superseding Indictment. Defense counsel have prepared their case on the assumption that the

  government did not intend to offer any expert testimony. We did not seek to locate experts that

  could rebut the government’s expert testimony because, it appeared, there was no testimony to

  rebut. By waiting until well after the eleventh hour to make expert disclosures, the government

  has obtained a strategic advantage: it has had over a year to formulate its own case based on



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  evidence that it chose not to reveal to the defense. This leaves defense counsel at a strategic

  disadvantage because it has less time to adjust its case to that evidence. Further, defense counsel

  have been forced to adjust their trial strategy and re-allocate their resources to retain experts. A

  continuance would not be an appropriate remedy for the simple reason that Mr. Grow does not

  want one, nor should he be forced to endure a continuance to receive a fair trial. Further, granting

  the government a continuance would reward the government’s conduct and would fail to ensure

  future compliance with the government’s disclosure obligations.

     B. The Proffered Testimony Impermissibly States Conclusions of Law.

         Issues with the timelines and sufficiency of the government’s expert disclosures aside, the

  opinion testimony tendered by the government consists of nothing more than bare legal

  conclusions and is therefore inadmissible. Under Federal Rule of Evidence 702, expert testimony

  may only be admitted if

         (1) the expert is qualified to testify competently regarding the matters he intends to
         address; (2) the methodology by which the expert reaches his conclusions is
         sufficiently reliable as determined by the sort of inquiry mandated in Daubert; and
         (3) the testimony assists the trier of fact, through the application of scientific,
         technical, or specialized expertise, to understand the evidence or to determine a fact
         in issue.

  United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (citation omitted). The proponent

  of expert testimony bears the burden of establishing qualification, reliability and helpfulness

  regardless of whether the proponent is an individual or the government in a criminal case. Id.

         It is fundamental that expert testimony on the meaning and applicability of relevant law is

  inadmissible. That is because each trial court already has its own legal expert: the Judge. An

  expert who offers legal conclusions usurps not simply the Judge’s duty to set forth the law but also

  the jury’s duty to apply the law to the evidence presented. Courts in this Circuit and elsewhere

  routinely exclude the testimony of purported “experts” espousing conclusions about what the law

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  is or how it should be apply to a particular set of facts. See, e.g., United States v. Oliveros, 275

  F.3d 1299,1306-07 (11th Cir. 2001) (affirming district court’s refusal to permit defense expert to

  testify about immigration law, noting that “[d]omestic law is properly considered and determined

  by the court whose function is to instruct the jury on the law; domestic law is not to be presented

  through testimony and argued to the jury as a question of fact”); Montgomery v. Aetna Cas. & Sur.

  Co., 898 F.2d 1537, 1541 (11th Cir. 1990) (concluding that witnesses “may not testify to the legal

  implications of conduct; the court must be the jury’s only source of law”); Wallace v. Norwegian

  Cruise Line Ltd., No. 09-21814, 2011 WL 13112226, at *2 (S.D. Fla. Mar. 16, 2011) (excluding

  the testimony where the witness “attempts to argue questions of law as questions of fact” –

  something that “[b]lack-letter law” dictates cannot be done); In re Initial Public Offering Sec.

  Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y. 2001) (noting that “[t]he rule prohibiting experts from

  providing their legal opinions or conclusions is so ‘well-established that it is often deemed a basic

  premise or assumption of evidence law – a kind of axiomatic principal,” and that “every circuit

  has expressly held that experts may not invade the court’s province by testifying on issues of law”)

  (collecting cases).

          In addition, although opinion testimony that embraces an ultimate issue of fact may be

  admissible under Federal Rule of Evidence 704, opinion testimony that does no more than state a

  legal conclusion is not. That is because evidence that embraces an ultimate issue may be excluded

  it if is not “otherwise admissible,” that is, if it is “not helpful to the fact finder under Rules 701 or

  702, or if [it] waste[s] time and/or confuse[s] the jury as contemplated under Rule 403.” Key v.

  Celadon Trucking Servs., Inc., No. 108-165, 2010 WL 11531270, at *4 (S.D. Ga. Feb. 9, 2010).

  Expert opinion testimony that merely states legal conclusions is not helpful to the jury and

  therefore is properly excludable. See Frazier, 387 F.3d at 1262-63 (noting that “expert testimony



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  is admissible if it concerns matters that are beyond the understanding of the average lay person,”

  and that such testimony “generally will not help the trier of fact when it offers nothing more than

  what lawyers for the parties can argue in closing arguments.”); Montgomery v. Aetna Cas. & Sur.

  Co., 898 F.2d at 1541 (noting that while “[a]n expert may testify as to his opinion on an ultimate

  issue of fact,” he may not “tell the jury what result to reach” because it would not be helpful to the

  jury.”). See also United States v. Barile, 286 F.3d 749, 759-60 (4th Cir. 2002) (citations omitted)

  (recognizing that “[u]nder Rule 701 and 702, opinions must be helpful to the trier of fact, and Rule

  403 provides for exclusion of evidence which wastes time. These provisions afford ample

  assurances against the admission of opinions which would merely tell the jury what result to reach,

  somewhat in the manner of the oath-helpers of an earlier day.”); Stobie Creek Investments, LLC v.

  United States, 81 Fed. Cl. 358, 360 (2008) (concluding that “[e]xpert testimony that testifies about

  what the law is or directs the finder of fact how to apply law to facts does not ‘assist the trier of

  fact to understand the evidence or to determine a fact in issue’ within the contemplation of Fed. R.

  Evid. 702.”).

         Applying these principles, the testimony of all three proposed government experts is

  inadmissible. The government’s Notice makes plain that both Mr. Kazarian and Dr. Simone are

  being tendered purely as legal experts, with Kazarian opining that Florida law requires a valid

  doctor-patient relationship and Simone testifying that Title 21, United States Code requires a

  prescription for certain drugs. The same holds true for Mr. Wunderlin to the extent the government

  seeks to elicit testimony from him concerning Tricare, a federal healthcare program, and how

  federal laws like the Anti-kickback Statute apply to that program. Because the testimony of these

  government witnesses consists of legal conclusions, it is excludable on that basis alone.




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     C. The Proffered Testimony Is Also Irrelevant to
        the Charges Against Mr. Grow.

         The proffered testimony also should be excluded because it is irrelevant and likely to

  confuse the jury. Mr. Grow stands accused of submitting false claims to Tricare, of paying and

  receiving unlawful kickbacks and of money laundering. The testimony sought by the government

  has nothing to do with these areas, and instead seeks to backdoor laws and regulations that have

  no bearing on the charges in this case.

         To start, the testimony of Mr. Kazarian on the requirement of a valid physician-patient

  relationship under Florida law is irrelevant to allegations of false claims and kickbacks. Further,

  we have yet to see any evidence that Mr. Grow knew or was told about the Florida law

  requirements – not by employees of the pharmacy for whom Mr. Grow worked as a marketer or

  by employees of the telemedicine companies whom the patients were referred to. To the contrary,

  the evidence at trial will show that Mr. Grow was consistently advised that telemedicine was

  lawful, even in Florida, and that it was widely practiced. To that end, the government has not

  charged a single pharmacy or telemedicine employee in this investigation with prescribing

  medication to anyone outside of a valid physician-patient relationship.

         Similarly, the testimony of Dr. Simone, that certain ingredients were drugs for which

  prescriptions were required, is also irrelevant to the charges against Mr. Grow. The government

  has not explained how the need for a prescription factors into whether Mr. Grow willfully violated

  the rules on kickbacks and false claims. Mr. Grow is not a pharmacist, and there is no evidence

  suggesting that he knew (or could have known) about the prescription requirement. Nor is there

  any evidence that he violated that requirement.

         Finally, the testimony of Mr. Wunderlin, the undisclosed Tricare expert, is equally

  irrelevant. As noted above, Mr. Grow was a marketer for PCA, not a Tricare biller. There is no

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   evidence that Mr. Grow ever had contact with Tricare, or that he had any knowledge of the Tricare

   rules about which Mr. Wunderlin has been tendered.

          Unless or until the government is able to lay a factual predicate and demonstrate the

   relevance of Florida physician-patient law, of federal prescription drug laws and of Tricare’s

   telemedicine laws, the government should not be allowed to reference those issues in its opening

   statement or at any other time during trial.

                                            CONCLUSION

          For the reasons set forth herein, Defendant Monty Ray Grow respectfully quests that the

   Court exclude the testimony of Messrs. Kazarian and Wunderlin, and of Dr. Simone.

                                                       Respectfully Submitted,

                                                       /s/ Jeffrey E. Marcus
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                             LOCAL RULE 88.9(a) CERTIFICATION

          Undersigned counsel hereby certifies that we conferred with the government, which

   opposes the relief requested in this motion.

                                                            /s/ Jeffrey E. Marcus
                                                            JEFFREY E. MARCUS


                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 15, 2018, a true and correct copy of the foregoing

   Unopposed Motion to Continue Trial was served via CM/ECF on all counsel of record.

                                                            /s/ Jeffrey E. Marcus
                                                            JEFFREY E. MARCUS




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